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From: Freddy Ramirez <freddy.r@tra.com> Lv x
Date: Thu, Jan 19, 2023, 5:31 PM

Subject: TRA

To: <keelygorham@gmail.com>

Hello Ernesto ,

Thank you for taking the time to speak with me today. Having refunds taken, wage garnishments & bank account levie
to falling behind on tax payments to the IRS is something that millions of Americans have dealt with at one time or anc
are not alone. Owing money to the IRS can be very intimidating. If you are in this position don’t worry and definitely
hope - Tax RELIEF Advocates will help you reach a favorable agreement with the IRS.

Using proven strategies, we at Tax RELIEF Advocates assist you through tax audits, help reduce your tax debt, stop
garnishments and bank levies from happening. In most cases, we help settle your tax debts for a small percentage anc
much, much less than what was originally owed, or better yet reduce them to nothing at all.

We, are your team of tax relief experts, your dedicated advocate to save you the most money possible - GUARAN

Our services come with a money back guarantee. If Tax RELIEF Advocates can’t save you more than our fee for y
assessment we will refund your fee in full. So we are a RISK FREE firm. You can relax knowing we will help you lowe
balance or help you get a better understanding of your tax issue with a money back guarantee IE: at no cost to you.

Give me a call directly at the number below or email me back here if you have any questions. Thank you and I look fo
working with you and getting this tax debt behind you.

Sincerely,

Freddy Ramirez
Resolution Officer

Visit us on Google, BBB, & Facebook

Freddy Ramirez

Settlement Officer

TRA.COM

Main: 1-800-556-5014 Ext. 614

Direct line, Text or Fax: 949-471-0446
Customer Service line: 1-877-553-0603

Mailing Address:
16808 Armstrong Suite 215
Irvine, CA 92606

TRA

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